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 4   Attorney for Defendant
     JARMAL DUPLESSIS
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 6
 7                           IN THE UNITED STATES DISTRICT COURT
 8                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                           No. Cr. S-09-0422 WBS
11                                 Plaintiff,            STIPULATION AND ORDER FOR
                                                         MODIFICATION OF PRETRIAL
12           vs.                                         RELEASE CONDITIONS
13   JARMAL DUPLESSIS,
14                                 Defendant.
15
16           IT IS HEREBY STIPULATED by and between the parties hereto through their
17   respective counsel, Jean Hobler, Assistant United States Attorney, attorney for plaintiff, and
18   Michael E. Hansen, attorney for defendant Jarmal Duplessis, that the defendant’s pretrial
19   release conditions be modified as follows:
20           1.      The defendant shall participate in a cognitive behavioral treatment program as
21   directed by the pretrial services officer. Such program may include group sessions led by a
22   counselor or participation in a program administered by the pretrial services officer.
23           2.      Further, defendant shall participate in a program of medical or psychiatric
24   treatment, including treatment for drug or alcohol dependency, as approved by the pretrial
25   services officer.
26   Dated: January 26, 2010                              Respectfully submitted,
27
                                                          /s/ Michael E. Hansen
28                                                        MICHAEL E. HANSEN
                                                          Attorney for Defendant Jarmal Duplessis

                                                     1
     Stipulation and Order for Modification of Pretrial Release Conditions
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 1   Dated: January 26, 2010                         /s/ Jean Hobler
                                                     JEAN HOBLER
 2                                                   Assistant U.S. Attorney
                                                     Attorney for Plaintiff
 3
 4
 5                                           ORDER
 6          IT IS SO ORDERED.
 7   Dated: January 26, 2010.
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     Stipulation and Order for Modification of Pretrial Release Conditions
